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lN TI~IE UNITED STATES DISTRICT COURT
FOR 'l`I-[E WESTERN DISTRICT OF TENNESSEE 05 JUH __3 PM 2: l 2

 

 

 

 

EASTERN DIVISION
UNITED STATES oF AMERICA ' ' ` "N' ’“'“'“"*""*‘*'S
v.
KAREY L. FRANKLIN 05Cr20190-1-D
ORDER ON ARRAIGNMENT
This cause came to be heard on J'U NE. ll 2005 the United States Attorney

for this district appeared on behalf of the government, and the defendant appeared in person and with

counse]:

NAME STEUE S/‘<UEL Who is Retainedeppointed.

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

/ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
F_

UNITED STATES MAGISTRATE ]UDGE

CI-IARGES - 18:1001.F
statements or entries generally

Attorney assigned to Case: C. Mcl\/lullen

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UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number l8 in
case 2:05-CR-20190 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed

 

 

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Honorable Bernice Donald
US DISTRICT COURT

